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IN THE UNITED STATES DISTRICT CGURT | ppp 2g
NORTHERN DISTRICT OF TEXA SY 2015
FORT WORTH DIVISION
OK US. DISTRICT COURT _
UNITED STATES OF AMERICA 2 s

 

v. : Case No. 4S ~ m3- a OU
LACIE REBEKAH WISENANT (01)
CRIMINAL COMPLAINT

I, Kevin K. Brown, being duly sworn, state the following is true and correct to the
best of my knowledge and belief:

Possession with Intent to Distribute a Controlled Substance
On or about April 29, 2015, in the Northern District of Texas, defendant Lacie
Rebekah Wisenant did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of methamphetamine, a Schedule

II Controlled Substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).

I am a Task Force Officer with the Drug Enforcement Administration and this
Complaint is based on the following facts:

1. On April 29, 2015, A Fort Worth Police Department Officer was working high °
visibility patrol in the 6700 block of Calmont Ave, Fort Worth, Texas. The officer

_ observed a white Ford Expedition traveling west bound on Calmont Ave. The officer
noticed that there was not a vehicle registration sticker on the windshield of the vehicle.
As the officer pulled out off of 2800 Olive Place onto Calmont Ave behind the White
Ford, the driver stopped abruptly, turned on the turn signal for a left turn and turned into
the Shadowood Apts at 6701 Calmont Ave, not signaling 100 ft. prior to the turn. The

Officer initiated a traffic stop on the vehicle.

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Upon making contact, the officer immediately knew the driver to be Lacie Wisenant.
The officer also recognized the front seat passenger of the vehicle and knew he had an
outstanding parole violation warrant. The front seat passenger was placed into custody.
2. The officer asked Lacie Wisenant for consent to search the vehicle. She granted
consent for the officer to search the vehicle. Upon a search of the vehicle the Officer
found two plastic bags which contained a large quantity of a crystal like substance.

3. Lacie Wisenant was advised she was under arrest. At the time of her arrest, she stated
that she wished to speak to a detective. Upon transport, Laci Wisenant spoke to a
detective. As she was interviewed Wisenant confessed to the Detective that she had
purchased a total of 18 ounces of Methamphetamines and given it to an individual to sell.
She also confessed that she had a large sum of cash in her purse which was found during
the consensual search ($13,400 dollars). She stated to the detective that she had obtained
this money through the sale of the Methamphetamines, and the remaining

methamphetamines is what she had left that hadn't been sold yet.

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4, A presumptive field test was conducted on a sample of the suspected
methamphetamine. The results were positive for methamphetamine. The gross
approximate weight of the methamphetamine including packaging was 310 grams.

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Kevin K. Brown, Affiant
DEA - Task Force Officer

 

Sworn to before me, and subscribed in my presence on April 30, 2015 at 3: 00 rN

a.m(/p.m) in Fort W orth, Texas.
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ROBB CATALANO
Criminal District Court No. 3, Tarrant County, Texas

 

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